                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                  DOCKET NO. 3:05CR104-FDW


UNITED STATES OF AMERICA,                        )
                                                 )         FINAL ORDER AND JUDGMENT
                v.                               )           CONFIRMING FORFEITURE
                                                 )          AS TO PERSONAL PROPERTY
(1) GABRIEL ROMERO                               )
(5) KOJI SANCHEZ STEWART                         )

        On October 20, 2006, this Court entered preliminary orders of forfeiture pursuant to 21

U.S.C. §853(n) and Fed. R. Crim. P. 32.2(b), based upon the above-captioned defendants pleas of

guilty to Count One in the bill of indictment. In that count, each defendant was charged with

conspiracy to possess with intent to distribute cocaine and cocaine base in violation of 21 U.S.C.

§841(a)(1) and §846.

        On February 23, 2007, the United States published in the Mecklenburg Times, a newspaper

of general circulation, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property in accordance with the law, and further notifying all third parties of their right to

petition the Court within thirty days for a hearing to adjudicate the validity of any alleged legal

interest in the property. In addition, the government served notice on Inez Romero, defendant

Romero’s wife or ex-wife, by certified mail, return receipt requested. Ms. Romero filed a petition

as to certain real property, and the government subsequently dismissed its forfeiture claim as to that

property. The government has also attempted service by certified mail on Quinn Stewart, the

registered owner of the vehicle, at his last known address. It appears from the record that no

petitions have been filed regarding any of the personal property.




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        Based on the record in this case, including the grand jury’s finding of probable cause and the

stipulations made by each defendant in his respective plea agreement, see Plea Agreement at ¶23,

the Court finds, in accordance with Rule 32.2(c)(2), that the defendant had an interest in the property

that is forfeitable under the applicable statute.

        It is therefore ORDERED:

        In accordance with Rule 32.2(c)(2), the preliminary order of forfeiture is confirmed as final.

All right, title, and interest in the following personal property has therefore been forfeited to the

United States for disposition according to law:

                (a) the sum of $168,031, seized on or about April 7, 2005;

                (b) one 1999 black GMC Yukon Denali, VIN 1GKEK13R3XR908954, registered in
                the name of Quinn Stewart; and

                (c) assorted jewelry owned by defendant Stewart and seized on April 15, 2005,
                consisting of two necklaces, a stainless steel diamond watch, a bracelet, and earrings,
                which have been valued collectively at $12,655.


        IT IS SO ORDERED.

                                                    Signed: October 9, 2008




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